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 1                                                          The Honorable Robert S. Lasnik
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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8
                                       AT SEATTLE
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     UNITED STATES OF AMERICA,                             NO. 2:20-MC-0071-RSL
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                              Plaintiff,                          (2:98-CR-321)
12
             vs.                                           Order Terminating
13                                                         Garnishment Proceeding
     DEMECO MARTINEZ DUGGINS,
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             Defendant/Judgment Debtor,
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           and
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     GASCOIGNE LUMBER CO.,
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                              Garnishee.
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19          This matter came before the Court on the United States’ Application to
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     Terminate Garnishment Proceeding. For the reasons stated in the United
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     States’ Application, the Court concludes that this Garnishment should be
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     terminated, pursuant to 28 U.S.C. § 3205(c)(10)(A).
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24          IT IS ORDERED that the garnishment is terminated and that Gascoigne

25   Lumber Co. is relieved of further responsibility pursuant to this garnishment.
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27
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     ORDER TERMINATING GARNISHMENT PROCEEDING                                    UNITED STATES ATTORNEY’S OFFICE
                                                                                  700 STEWART STREET, SUITE 5220
     (USA v. Demeco Martinez Duggins and Gascoigne Lumber Co., USDC#: 2:20-MC-           SEATTLE, WA 98101
     0071-RSL/2:98-CR-321-1)1                                                            PHONE: 206-553-7970
             Case 2:20-mc-00071-RSL Document 8 Filed 09/25/20 Page 2 of 2



 1          Dated this 25th day of September, 2020.
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 3
                                     JUDGE ROBERT S. LASNIK
 4                                   UNITED STATES DISTRICT COURT JUDGE

 5
 6   Presented by:

 7   s/ Kyle A. Forsyth
     KYLE A. FORSYTH, WSBA # 34609
 8   Assistant United States Attorney
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     ORDER TERMINATING GARNISHMENT PROCEEDING                                    UNITED STATES ATTORNEY’S OFFICE
                                                                                  700 STEWART STREET, SUITE 5220
     (USA v. Demeco Martinez Duggins and Gascoigne Lumber Co., USDC#: 2:20-MC-           SEATTLE, WA 98101
     0071-RSL/2:98-CR-321-1)2                                                            PHONE: 206-553-7970
